Case 2:91-cr-20249-.]PI\/| Document 78 Filed 06/08/05 Page 1 of 3 Page|D 1

PROB 12

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UNITED STATES DISTRICT COURT F"_ED BY % ml

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WESTERN DISTRIC'I` OF TENNESSEE

U.S.A. vs. Clarence Steven Janles I)ocket N0. 2:91CR20249-01

Petition on Probation and Supervised Release

COMES NOW Lorin J. Srnith, PROBATION OFFlCER OF THE COURT presenting an official report upon
the conduct and attitude of Clarence Steven James, who was placed on supervision by the Honorable Odell Horton
sitting in the Court at Mernphis, Tennessee on the l__l_f_“_ day of March, _I_Q_Q_?_), who fixed the period of supervision
at five §5 1 years With the following special conditions:

l.) The defendant shall not own or possess a tireann or destructive device.
2.) The defendant shall receive a alcohol and drug treatment
*Supervision began April 27, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTI()N OF COURT FOR CAUSE AS FOLLOWS:

SEE ATTACHED

PRAYING THA'I` THE COURT WILL ORDER that a SUMMONS be issued for Clarence Steven James to
appear before the Court to determine Whether the special condition requiring sex offender treatment and testing be
added to his conditions of supervised release.

ORDER OF COURT Respectfully,

Consig§;ed and ordered this day

er \_) we , 20§3, end erdered filed
and made a part of the records in the above
case.

   
  

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U.S. Pro ation Ofticer

/fgrw() M (' (}AQ/Q Place: Memnhis. Tennessee
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Wstetee Dietriet Judge Da¢e= Mey 25_ 2005

 

 

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Case 2:91-cr-20249-.]PI\/| Document 78 Filed 06/08/05 Page 2 of 3 Page|D 2
RE: Clarence Steven James

l)ocket No: 2:91CR20249-01
Probation Form 12
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

Mr. Clarence Steven .lames was sentenced to 188 months, by the Honorable Odell Horton, for Felon in Possession
of a Firearm. Mr. J ames Was adjudicated as an Armed Career Criminal by the Court as a result of the instant offense
and Mr. .larnes’ violent criminal history.

Mr. J ames was convicted on November 7, 1977 of several sexual offenses that occurred over a two year period of
time. He was convicted of three (3) counts of Crimes Against Nature, one (l) count Assault & Battery W/Intent
to Commit Rape, two (2) counts of Rape, one (l) count Assault & Battery W/Intent to Have Unlawful Carnal
Knowledge, and one (l) count Assault to Murder, lSt Degree. After Mr. J ames was released from prison on these
charges he was convicted in February 1989 of one (l) count of Sexual Battery.

ln order to best supervise Mr. James during his term of Supervised Release, and to better protect the community and
due to his extensive sexual offender history, the United States Probation Oflice recommends that a special condition
be added to Mr. J ames Conditions of Supervision requiring sex offender counseling The defendant has declined
to sign a Probation Fon‘n 49, Waiver of Hearing for Modification of Special Conditions.

The United States Probation Office recommends the following special condition:

The defendant shall participate as directed in a program of mental health treatrnent, including a sexual offender
treatment program, approved by the probation officer. The defendant shall abide by the rules, requirements, and
conditions of the treatment program, which may include submitting to polygraph or plethysmograph testing, to aid
in the treatment and supervision process

UNITED s`TATEs DRISTIC COURT - WETNSER DI's'TRICT oF ENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:9]-CR-20249 was distributed by fax, mail, or direct printing on
.lune 9, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

